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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND
                                              x

UNITED STATES OF AMERICA,

                            Plaintiff,

                     v.                           Case No. 8:22-cr-00440-PX

NADER POURHASSAN, and
KAZEM KAZEMPOUR,

                            Defendants.
                                              x


            DEFENDANT NADER POURHASSAN’S MOTION TO DISMISS
                           THE INDICTMENT

                                EXHIBIT INDEX

Exhibit A         SEC Form 4, Nader Pourhassan May 4, 2020

Exhibit B         Schedule 14A May 28, 2020
